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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JASON MORRIS, et al.,                             )
                                                  )
                                                  )       Case No. 2016-cv-7002
                       Plaintiffs,                )
                                                  )       Honorable Thomas M. Durkin
       v.                                         )
                                                  )
SEAFOOD JUNCTION, INC. et al.,                    )
                                                  )
                       Defendants.                )

            JOINT MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT

       Plaintiff Jason Morris (“Plaintiff Morris”) and Defendants Seafood Junction, Inc.,

Seafood Junction #3, Inc., Seafood Junction #4, Inc., Layla 08, Inc., Four Brothers 1, Inc., Eyad

Alhjouj, Mohammad Jalab, and Iman Abdelghani (collectively referred to as the “Parties”),

through the undersigned counsel, seek approval of their settlement in this action brought under

the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”). The Parties respectfully

submit that the terms of the settlement are fair, reasonable, and resolve a bona fide dispute

between the Parties. In support of their motion the Parties state as follows:

       1.      On March 31, 2017, Plaintiff Morris filed action by asserting claims against

Defendants pursuant to the FLSA and the Illinois Minimum Wage Act.

       2.      Plaintiff Morris asserts, among other things, that he is entitled to minimum wage

and overtime compensation based on hours allegedly worked for Defendant Seafood Junction,

Inc., which is a dissolved corporation that ceased doing business. He also asserts claims for

minimum wages and overtime based on work allegedly performed for Defendants Seafood

Junction #3, Inc. and Seafood Junction #4, Inc.




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       3.      Following settlement discussions and an agreement to attempt to resolve their

claims with the assistance of Magistrate Judge Rowland, Plaintiff Morris and the Defendants

reached a settlement of her claims based on arms-length discussions.

       4.      Plaintiff Morris alleged that he was denied some or all of the overtime

compensation that he claims to have earned during several short stints of employment by three of

the Defendants in this case. Plaintiff Morris has access to his pay records and is aware of the

hours that he claims to have worked during the time periods at issue. Accordingly, he has

sufficient information available to evaluate the value of his claims. The Parties have reached a

resolution of Plaintiff’s claims for $6,625.00, plus an equal amount of liquidated damages. The

Parties separately negotiated a payment of attorneys’ fees to Plaintiff Morris’ counsel. Plaintiff

has attested by way of declaration that this amount exceeds the value of the unpaid overtime and

liquidated damages that he might recover in this action under the circumstances. A copy of his

declaration is attached as Exhibit 1.

       5.      Court approval of FLSA settlements is necessary to effectuate a valid and

enforceable release of FLSA claims asserted. See Walton v. United Consumers Club, Inc., 786

F.2d 303, 306 (7th Cir. 1986). Under the FLSA, employees may settle their claims if the Parties

agree on the terms, the court approves the settlement as “a fair and reasonable resolution of a

bona fide dispute over FLSA provisions.” Lynn’s Food Stores, Inc. v. United States, 679 F.2d

1350, 1355 (11th Cir. 1982). Based upon the foregoing, the Parties request that this Court

review their Settlement Agreement and General Release and approve the same. A copy of the

Settlement Agreement and General Release is attached as Exhibit 2.

       6.      The settlement was the product of arm’s-length negotiations by the Parties. It

provides immediate relief to Plaintiff Morris and eliminates the inherent risks both sides would




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bear if this litigation were to continue. Given these circumstances, a presumption of fairness

should attach to the proposed settlement. See Lynn’s Food Stores, Inc., 679 F.2d at 1354

(recognizing that courts rely on the adversary nature of a litigated FLSA case resulting in

settlement as an indication of fairness).

       7.      Should this matter have continued, the Parties would have conducted discovery,

and potentially filed dispositive motions on at least the following issues: (1) whether Plaintiff

was paid for all hours worked; (2) whether Plaintiff actually worked the hours that he alleged in

the complaint; (3) whether Plaintiff had a basis to be paid compensation based on hours worked

for the now-defunct Seafood Junction, Inc. entity; and (4) whether Defendants willfully violated

the FLSA.

       8.      If Plaintiff prevailed on his claims, Defendants would be faced with the prospect

of a verdict against them and the obligation to pay attorneys’ fees and costs. If Defendants

prevailed, Plaintiff faced dismissal of his claims and no recovery.

       9.      For all of these reasons, this Court should conclude that the proposed settlement

reflects a fair and reasonable resolution of a bona fide dispute and approve the settlement.

       10.     The Parties request that this Court dismiss this lawsuit with prejudice.

       11.     The Parties will submit a Joint Proposed Order for the Court’s consideration.

       WHEREFORE, the Parties respectfully request that this Court approve their negotiated

Settlement Agreement and General Release and dismiss this lawsuit with prejudice with each

party to bear their own fees and costs in accordance with the Settlement Agreement.




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Dated: August 30, 2017                      Respectfully submitted,

                                            /s/ Pasha Vaziri
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                                            Attorney for Plaintiff Jason Morris



                                            /s/ Peter J. Gillespie
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                                            Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I, Peter J. Gillespie, an attorney, hereby certify that on August 30, 2017, I caused to be

served a copy of the foregoing Joint Motion for Approval of Settlement Agreement, in the

above-captioned matter to be filed with the Clerk of the District Court and served on the parties

of record, including those listed below, by operation of the Court’s CM/ECF electronic filing

system, addressed to:

                                     Pasha Vaziri
                                     Vaziri Law LLC
                                     111 W. Washington St., Suite 1500
                                     Chicago, IL 60602
                                     (312)690-2610
                                     pvaziri@vazirilawllc.com

A copy of the foregoing has also been served via U.S. First Class Mail and email to:

                                     Sarita Norman
                                     42 N. Menard, Apt. 3A
                                     Chicago, IL 60644
                                     saritanorman@gmail.com




                                            /s/ Peter J. Gillespie
                                            Peter J. Gillespie




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